                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

  JACK DOE,                                           )
                                                      )
                 Plaintiff,                           )
                                                      ) Case No. 7:18-cv-492
  v.                                                  )
                                                      ) By: Elizabeth K. Dillon
  VIRGINIA POLYTECHNIC INSTITUTE                      )     United States District Judge
  AND STATE UNIVERSITY, et al.,                       )
                                                      )
                 Defendants.                          )

                                                ORDER

       All nondispositive pretrial motions and issues are hereby referred to United States Magistrate

Judge Robert S. Ballou pursuant to 28 U.S.C. § 636(b)(1)(A).

       The Clerk shall send copies of this order to the parties.

       It is so ORDERED.

       Entered: December 13, 2018.

                                              /s/ Elizabeth K. Dillon
                                              Elizabeth K. Dillon
                                              United States District Judge




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